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                                                                                                       Benjamin D. Bianco
                                                                                                                    Partner
                                                                                                      Direct (646) 539-3791
                                                                                                        Fax (646) 564-4804
                                                                                                         bdb@msf-law.com



June 20, 2023

VIA ECF

Hon. Lorna G. Schofield
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:        Juan Pablo Thieriot v. William Laggner 1:23-cv-01875-LGS

Dear Judge Schofield:

We are counsel to plaintiff Juan Pablo Thieriot (“Plaintiff”) in this action, and write in response to
Defendant’s June 9, 2023 letter-motion filed by Defendant (Dkt Nos. 26/27) (“Letter-Motion”).
As an initial matter, the Letter-Motion is yet another attempt to delay this action and drive up the
cost to Plaintiff in his attempt to collect the $140,000 he is rightfully owed from Defendant.
Indeed, despite this Court’s clear directive in the Scheduling Order (Dkt No. 17) that “[r]esponsive
documents shall be produced by June 15, 2023,” Defendant ignored this deadline.1 If Defendant
had timely produced documents in accordance with Plaintiff’s straightforward requests, the facts
of this case would not be in meaningful dispute, obviating the need for this Letter-Motion, and
allowing the parties to quickly proceed to summary judgment.2

Summary of Facts as Pled

Pursuant to a settlement agreement in an unrelated action (the “Settlement Agreement”), in or
around May 2019, Defendant, Bill Laggner, received 4,843,890 shares of common stock of
Bitreserve, Ltd. (now d/b/a Uphold Ltd, hereinafter the “Company”) from non-party Halsey Minor
(the “Laggner Shares”). Amended Complaint (Dkt No. 21 “(Compl.”)) ¶7. These 4,843,890
shares of the Company (i.e., the Laggner Shares) are the only Company shares Defendant has ever
owned. Compl. ¶19.


1
  This response letter is not intended to raise a discovery dispute, which will be done in accordance with the Court’s
Individual Rules and the Local Rules (if necessary), but is instead meant to identify the course of Defendant’s conduct.
2
    In accordance with this Scheduling Order, the parties will file a Status Letter with the Court later today.

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Pursuant to the Settlement Agreement, Minor is entitled to receive half of the first $750,000 of
proceeds of any sales of the Laggner Shares. Compl. ¶8. In or about 2022, Defendant sold 40,000
of the Laggner Shares for $280,000. Compl. ¶21. Although the $280,000 sales price is made upon
information and belief because Plaintiff does not have the actual sale agreement, the fact that
Defendant sold 40,000 of the Laggner Shares is not in despite. Plaintiff is on the Board of Directors
of the Company, and according to the capitalization table of the Company—to which Plaintiff has
authorized access, but not possession—Defendant now “owns 4,803,890 shares, or exactly 40,000
shares less than he received pursuant to the Settlement Agreement.” Compl. ¶17. And, according
to the capitalization table, “a person named Yuan Yuan” now owns the 40,000 Laggner Shares
previously owned by Defendant. Compl. ¶17.

Accordingly, Defendant is obligated to pay Minor $140,000 from the sale of the Laggner Shares,
but has failed to do so in breach of the Settlement Agreement. Compl. ¶¶8, 24. Plaintiff has
submitted evidence that he was properly assigned the rights to Minor’s $140,000, but Defendant
has also failed to pay Plaintiff. Compl. ¶¶12-16, and Compl. Exs. A/B.

In sum the facts of this action are straightforward and well-pled.

    a. The Contract Claim has been Properly Pled

The primary thrust of Defendant’s argument is that Plaintiff has failed to plead that the sale to
Yuan Yuan has not been “consummated.” Letter-Motion, pg. 2. This position is unfounded.

The Amended Complaint properly pleads that Defendant received the 4,843,890 Laggner Shares
pursuant to the Settlement Agreement. Comp. ¶7. The Amended Complaint further properly
pleads—and not upon information and belief—that the current capitalization table for the
Company reflects that (i) Defendant “owns 4,803,890 shares, or exactly 40,000 shares less than he
received pursuant to the Settlement Agreement,” and (ii) “a person named Yuan Yuan owns the
40,000 shares that were transferred to Yuan Yuan from the Laggner Shares.” Compl. ¶¶19, 20.

It is axiomatic that the parties to a share purchase agreement would not direct the issuing company
to alter its capitalization table unless and until all other conditions of the share sale were completed.
In fact, the formal transfer of the shares by the issuing company from the seller to the purchaser is
that last step in the consummation of the agreement. Moreover, to the extent Defendant believes
the share sale to Yuan Yuan has not been properly consummated, he would not have directed or
permitted the Company to formally transfer the 40,000 Laggner Shares to Yuan Yuan.

    b. The Conversion Claim is Validly and Properly Pled in the Alternative to the Extent
       Defendant Continues to Challenge the Validity of the Agreements at Issue

Defendant’s argument regarding the legal validity of the Conversion claim is misplaced. In this
District, a conversion claim may be pled alongside a contact claim where, as here, Defendant
challenges the existence, validity, or enforceability of the agreement upon which the breach of
contract claim is based. See Picture Pats., LLC v. Aeropostale, Inc., No. 07 CIV. 5567 (JGK),
2009 WL 2569121, at *3 (S.D.N.Y. Aug. 19, 2009) (finding unjust enrichment and conversion

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claims could be pled as alternative theories to breach of contract claim where there was a dispute
over the existence of a contract between the parties). In Defendant’s Answer to the initial
Complaint (Dkt No. 14), Defendant includes the following statement in Defendant’s Affirmative
Defenses:

                 Plaintiff alleges that he is entitled to payment in the amount of
                 $140,000, plus attorneys’ fees and cost, as a result of Defendant’s
                 breach of the Settlement Agreement. First, Plaintiff, a non-party to
                 the Settlement Agreement, lacks standing to enforce the terms of the
                 Settlement Agreement as the Agreement expressly prohibited Minor
                 from assigning or transferring any rights under the Settlement
                 Agreement to Plaintiff. Upon information and belief, no valid
                 agreement to allow the assignment of Minor’s rights under the
                 Settlement Agreement to Plaintiff was fully executed by the
                 parties to the Settlement Agreement.

Id. at pg. 5 (emphasis added). Given that Defendant has challenged the existence of the instrument
providing Plaintiff his rights under the Settlement Agreement, and thus the propriety of Plaintiff’s
breach of contract claim, Plaintiff is entitled to plead a conversion claim in the alternative. See
Picture Pats., at *3.


                                                Respectfully Submitted,
                                                MEISTER SEELIG & FEIN PLLC

                                                By:            /s/
                                                         Benjamin D. Bianco

cc:      All counsel of record (via ECF)




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